           Case 3:22-cv-00178-SDD-SDJ        Document 93      06/21/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
JUNE 21, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK


DOROTHY NAIRNE, et al
                                                                        CIVIL ACTION
versus
                                                                        22-178-SDD-SDJ
R. KYLE ARDOIN, in his capacity
as Secretary of State of Louisiana


          This matter came on this day for a Telephone Status Conference.

          PRESENT: Sarah E. Brannon, Esq.
                   Counsel for Plaintiffs

                       Phillip J. Strach, Esq.
                       Counsel for Defendants

          The Court advised that the Motion to Vacate Order on Motion to Stay1 will be

granted and will set this for an expedited trial. The Court refers this matter to the

Magistrate Judge for a scheduling order.

          The Court and parties discussed potential trial dates. The parties shall confer

          and report back to the Court with the mutually agreed upon date.



                                         *****

          CV 38c; 15 mins.




1
    Rec. Doc. 82.
